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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION


KRISTOPHER KELLY TROTTER,

       Plaintiff,

v.                                                       Case No. 3:19-cv-1327-L-BT

CITY OF DALLAS, TEXAS,

       Defendant.


                                         ORDER

       Defendant the City of Dallas filed a Motion to Dismiss Plaintiff’s § 1983 action

against it. (ECF No. 23). Because the Motion, if granted, would dispose of all of Plaintiff’s

claims against Defendant, the Court finds good cause to delay entry of a Scheduling Order.

See Fed. R. Civ. P. 16(b)(2) (“The judge must issue the scheduling order as soon as

practicable, but unless the judge finds good cause for delay, the judge must issue it within

the earlier of 90 days after any defendant has been served with the complaint or 60 days

after any defendant has appeared.”). The Court will set a scheduling conference with the

parties, if appropriate, after it has entered Findings, Conclusions, and a Recommendation

on the pending Motion to Dismiss.

       SO ORDERED.

       January 28, 2020.


                                            REBECCA RUTHERFORD
                                            UNITED STATES MAGISTRATE JUDGE




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